Case: 4:07-cr-00582-RWS     Doc. #: 40    Filed: 11/19/07   Page: 1 of 2 PageID #: 68



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                   Plaintiff,             )
                                          )
          v.                              )       No. 4:07 CR 582 RWS
                                          )                       DDN
RALPH ANTHONY KNOX,                       )
                                          )
                   Defendant.             )

                            MEMORANDUM AND ORDER
                     OF UNITED STATES MAGISTRATE JUDGE

     This action is before the Court upon the pretrial motions of the
parties which were referred to the undersigned United States Magistrate
Judge pursuant to 28 U.S.C. § 636(b).          An evidentiary hearing was set
for November 13, 2007.
     At   the    November   13,   2007,   proceedings,      defendant   personally
withdrew his previously filed motions to suppress evidence and waived
his right to file other pretrial motions.          However, defendant indicated
his desire for a ruling on the also pending motion for the disclosure
of the identity and location of the confidential informant(s) (Doc. 34).
Because the government had not previously responded to this motion, the
undersigned sustained the government's request for an opportunity to
file a documentary response.       The undersigned gave the government until
November 16, 2007, to file its response, and gave the defendant until
November 21, 2007, to file a documentary reply.
     However, on November 16, 2007, defendant moved to withdraw his
previously filed motion to reveal identity and location of confidential
informant.     Accordingly,
     IT IS HEREBY ORDERED that the motion of defendant to withdraw his
motion to reveal identity and location of confidential informant (Doc.
Case: 4:07-cr-00582-RWS   Doc. #: 40   Filed: 11/19/07   Page: 2 of 2 PageID #: 69



39) is sustained, and the motion of defendant for the disclosure of the
identity and location of the confidential informant(s) (Doc. 34) is
withdrawn.




                                        /S/ David D. Noce
                                   UNITED STATES MAGISTRATE JUDGE



Signed on November 19, 2007.




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